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EXHIBIT “A”
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(01/31/13 - special) Fieldwood / PIA No, 1055
PAYMENT AND INDEMNITY AGREEMENT No. 1055

THIS PAYMENT AND INDEMNITY AGREEMENT (as amended and supplemented, this “Agreement”) is executed by
each of the undersigned on behalf of each Principal (as defined below) for the benefit of U.S. Specialty Insurance Company (the
“Surety”) in connection with any bond or bonds executed or to be executed on behalf of any Principal and to induce the Surety to
execute or procure the execution of such bond(s) and any extensions, modifications, or renewals thereof, additions thereto, or
substitutions therefor (the “Bonds”), The term “Principal” as defined and used herein shall mean any of the undersigned individuals
or entities, as well as any and all affiliates, specifically including, without limitation, all wholly or partially owned subsidiaries,
divisions or affiliates, and all partnerships, ventures or co-yentures in which any of the undersigned or any wholly or partially owned
subsidiary, division or affiliate has an interest or participation, whether naw existing or which may hereafter be created or acquired.

IN CONSIDERATION of the execution or procurement of the Bonds, and for other good and valuable consideration, the
receipt and sufficiency of which the Principals hereby acknowledge, the Principals hereby agree, for themselves, their personal
representatives, successors, and assigns, jointly and severally, as follows:

1, Bond Premiums The Principals shall pay to the Surety premiums and charges at the rates and at the times specified by
the Surety with respect to each Bond (as the Surety may specify at any time before or after the issuance of any Bond), continuing until
the Surety shall be discharged or released from any and all liability and responsibility under the Bonds, and all matters arising
therefrom, and until the Surety receives evidence, satisfactory to the Surety, of such discharge or release. All first year premiums are
fully earned immediately upon issuance of each Bond and must be paid in full unless otherwise agreed in writing. If any Principal
fails to pay when due any premium or portion thereof, or fails to pay within ten days after demand of any other sum becoming due the
Surety hereunder; then, unless the Principals shall, immediately upon demand therefor: (a) deliver to the Surety evidence, satisfactory
to the Surety, of the discharge and release of the Surety from any and all liability and responsibility under the Bonds and al{ matters
arising therefrom; and (b) pay to the Surety all sums owed the Surety as of the effective date of such absolute release of the Surety
from said obligations, the Surety may require there be paid, and the Principals jointly and severally agree they shall forthwith pay to
the Surety, an amount equal to the full penalty amount of the Bonds, to be held as collateral until: (i) all sums due and to become due
to the Surety have been paid, and (ii) the Surety shall be wholly discharged and released from all liability under the Bonds.

2. Indemnification of Surety The Principals shall jointly and severally indemnify and keep indemnified the Surety and
hold and save it harmless from and against any and ail liability, damage, loss, cost, and expense of whatsoever kind or nature,
including reasonable counsel and attorneys’ fees which the Surety may at any time sustain or incur by reason or in consequence of
having executed or procured the execution of the Bonds or in enforcing this Agreement against any Principal or in procuring or in
attempting to procure the Surety’s release from liability or a settlement under any Bonds. If the Surety deems it necessary to make an
independent investigation of a claim, demand or suit, the Principals jointly and severally acknowledge and agree that all expenses
attendant to such investigation, whether incurred internally or with third parties, is included as an indemnified expense,

3. Security The Surety may at any time and from time to time hereafter, in its sole and absolute discretion, require the
Principals to provide collateral, in form and amounts acceptable to the Surcty (such amounts not to exceed the aggregate penalty sum
of all then-issued Bonds) to secure the Principals’ obligations to the Surety hereunder and/or to establish reserves to cover any actual
or potential liability, claim, suit, or judgment under any Bond, immediately upon the Surety’s demand therefor, each Principal shall
execute such documents and take such further action as may be necessary in order to provide such cojlateral. Each Principal hereby
grants to the Surety a security interest in all money and other property now or hereafter delivered by such Principal to the Surety, and
all income (if any) thereon. Ifa Principal provides the Surety with a letter of credit or similar instrament, such Principal agrees that
the Surety has the right to call on the same from time to time, in whole or in part and for any reason or no reason, and to hold the
proceeds thereof as collateral for the obligations of the Principals hereunder. Any collateral provided at any time by any Principal
shall be available, in the discretion of the Surety, as collateral security on any or all Bonds heretofore or hereafter executed for or at
the request of such Principal or any other Principal.

4. Inspection Until the Surety shal! have been furnished with evidence of its full, final and complete discharge without
loss from any and all Bonds, the Surety and its agents shall have free access, at any and all reasonable times, to the books and records
of each Principal relevant to the obligations under this Agreement. Each individual Principal consents to the Surety’s requests for,
and use of, consumer credit reports and investigative consumer credit reports with respect to such Principal. Any bank, creditor, credit
bureau or credit reporting agency, obligee of a Bond or other individual or entity possessing records or having information concerning

the financial affairs and operations of any Principal is hereby authorized to furnish to the Surety CHa any such records or
information requested by the Surety. Each Principal will execute any additional document requeste by asivety to cause the release
of such records and information. ae pepo

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(01/31/13 - special) Fieldwood / PIA No, 1055
5. Additional Sureties If IndemCo L.P. or the Surety shall procure any other company or companies, including but not
limited to American Contractors Indemnity Company and/or SureTec Insurance Company, to execute or join with it in executing, or to
reinsure any Bond, this Agreement shall inure to the benefit of such other company or companies, its or their successors and assigns,
so as to give it or them a direct right of action against the Principals to enforce the provisions hereof,

6, Evidence of Liability An itemized statement of payments made by the Surety for any of the purposes specified herein,
or the voucher or vouchers for such payments, shall be prima facie evidence of the liability of the Principals to reimburse the Surety
for such payments.

7. Additional Rights of Surety The Surety, in its sole discretion and without notice to any Principal, is hereby authorized
but not required, (a) from time to time to make or consent to any change in the Bonds or to issue any substitutes or any renewal
thereof, and this Agreement shall apply to such substituted, changed or renewed Bonds; {b) take such action as it may deem
appropriate to prevent or minimize loss under the Bonds, including, but not limited to, taking steps to procure discharge from liability
under the Bonds; and (c) to adjust, settle, or compromise any claim or suit arising under the Bonds and, with respect to any such claim
or suit, to take any action it may deem appropriate. Any adjustment, settlement, or compromise made or action taken by the Surety
shall be conclusive against and binding upon the Principals.

8. Bond Forms The Principals acknowledge and agree it is their sole responsibility to provide the proper forms for the
Bonds to be executed by the Surety, and neither the Surety nor its agents shall have any liability whatsoever to any Principal if the
Principals fail to furnish the Surety with the proper forms. It shall be the sole responsibility of the Principals to review the bond form
to be executed by the Surety for any errors or omissions before delivery of any Bond to its obligee, and the Surety and its agents shall
have no liability to the Principals on account of any such errors and omissions. Before requesting the Surety issue any Bond, the
Principals shall obtain confirmation the proposed obligee on the Bond will accept the Surety as surety on the proposed Bond, and
neither the Surety nor its agents shall have any liability whatsoever if any obligee refuses, for whatever reason, to accept the Surety as
surety on any Bond. Each Principal agrees the Principals shal! be solely responsible for arranging, independent of the Surety, for the
timely delivery of any Bond to its obligee. The Surety and its agents shall have no fiability to the Principal if the Bond is not timely
delivered to any obligee for any reason whatsoever,

9. Additional Obligations of Principals Each Principal agrees to pay al] amounts owed and/or described herein regardless
of (a) the failure of any Principal to sign any application for a Bond; (b) any claim that other indemnity, security, or collateral was to
have been obtained; (c) the release, return, or exchange by the Surety with or without the consent of any other Principal, of any
indemnity, security, or collateral that may have been obtained, or (d) the fact that any other Principal is not bound for any reason. The
Surety is expressly subrogated to all rights, if any (but if a Principal has waived its rights of subrogation against any party, such waiver
shall control this Agreement), of the Principals (or any or all of them) to collect, receive, recover, and/or be reimbursed from (i) any
co-owners or owners of undivided interest in any properties, wells, and leasehold interests relative to which the Bonds shall apply
(collectively, the “Related Property”); {ii) any party contractually bound to pay or reimburse any Principal on account of ownership or
operation of any Related Property; or (iii) any other party otherwise obligated to, or for, any Principal in any way, in connection with,
or arising out of damage to any Related Property. The Surety, as subrogee, upon default of payment of any sums becoming payable
hereunder by any Principal, may enforce all of the rights of the Principals in and to any such above-described claims and interests; and
may pursue its remedies hereunder in its own name or in the name of the relevant Principal{s); but nothing herein shall require that the
Surety pursue any such remedy or claim against any third party. Each Principal agrees, upon demand of the Surety therefor, to
exccute and deliver any and all appropriate further documentation evidencing and authorizing the Surety to pursue, recover, collect,
and hold for its account any such claims or rights,

10. Suits to Enforce Separate suits may be brought hereunder as causes of action accrue, and suit may be brought against
any and all of the Principals; and any suit or suits upon one or more causes of action, or against one or more of the Principals, shall not.
prejudice or bar subsequent suits against any other Principals on the same or any other causes of action, whether theretofore or
thereafter accruing.

HL. Liability Limitation Each Principal agrees the Surety’s liability, if any, to any one or more of the Principals on account
of any acts or omissions by the Surety (whether such acts or omissions arise in tort, breach of contract, or at law) arising out of or
related to any Bonds or any other conduct by the Surety, WHETHER THE SAME ARISES FROM THE NEGLIGENCE OF
THE SURETY OR OTHERWISE, shall be and is hereby expressly limited to an amount equal to the premium actually paid to the
Surcty for such Bond.

12. Waiver of Notice Each Principal hereby expressly waives notice from the Surety of any claim or demand made against
the Surety or any Principal under the Bonds or of any information the Surety may receive concerning any Principal, any Bond, or any
contract. oo

13. No Obligation to Issue Bonds The Surety shail have the right to decline to issue any or all Bonds applied for
hereunder and shall have the right to withdraw from or cancel any application for a Bond at any time, all without incurring any
liability to any Principal. The use of the plural term “Bonds” herein shall not be interpreted to require that the Surety issue multiple
bonds or any bond whatsoever.

14, Conflict and Modification If any portion of this Agreement is in conflict with any law controlling the construction
hereof, such portion of this instrument shall be considered to be deleted and the remainder shall continue in full force and effect.

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(01/31/$3 - special) . Fieldwood / PIA No, 1055

15. Waivers To the maximum extent not prohibited by applicable law, each Principal hereby waives all rights to clains any
of its property is exempt from levy, execution, sale, or other legal process in any action hereunder,

16. Continuing Obligation This Agreement is a continuing obligation of each Principal, and no Principal shall have the
right to terminate its obligations for any Bonds issued during the term hereof. A Principal may terminate this Agreement as to future
Bonds by notice to the Surety, but such termination as to a Principal shall in no way affect the obligation of any other Principal who
has not given such notice. In order to terminate liability as to future Bonds, a Principal must notify the Surety of such termination and
state in such notice the effective date (not less than 30 days after receipt thereof by the Surety) of termination of such Principal’s
liability for future Bonds. After the effective date of such termination, the Principal giving notice of termination shall nonetheless be
liable hereunder for Bonds executed or authorized before such date and renewal, substitutions, and extensions thereof.

17, Place of Performance and Enforcement All obligations hereunder of each Principal is performable in, and all monies
due the Surety hereunder are payable in, Harris County, Texas. This Agreement shall be construed and enforced in accordance with
the laws of the state of Texas, without regard to its conflict of law rules. EACH PRINCIPAL HEREBY IRREVOCABLY
CONSENTS TO THE EXCLUSIVE VENUE AND JURISDICTION OF THE FEDERAL AND STATE COURTS SITTING
IN HARRIS COUNTY, TEXAS, AND DOES FURTHER WAIVE ANY AND ALL RIGHTS TO OBJECT TO SUCH VENUE
OR JURISDICTION.

18. Rights Not Exclusive Nothing herein-contained shall be construed to waive or abridge any right or remedy which the
Surety might have if this Agreement was not executed.

19. Other Bonds and Agreements This Agreement shall also extend to and cover and indemnify the Surety against loss
under any presently outstanding Bonds, and the obligation of the Principals hereunder, with respect to such pre-existing Bonds, shall
be supplemental and in addition to (and not in lieu of, or in diminution of) the obligation of any or all of the Principals under any
presently existing agreement relating to or securing such pre-existing Bonds, Further, with respect to any future Bonds, the obligation
of any or all of the Principals under any such presently existing agreement(s) shall be supplemental and in addition to (and not in lieu
of, or in diminution of) the obligation of the Principals hereunder.

20. Joint and Several Liability Each Principal shall be deemed to have made all of the representations, warranties,
covenants, and agreements set forth herein, and each Principal shall be jointly and severally liable for each and every obligation and
duty of the Principals set forth herein. A default of any Principal in the performance of any of its obligations to the Surety under this
or any other agreement shall constitute a default hereunder by all Principals. Each Principal understands and agrees that the
circumstances, financial or otherwise, of any one or more of the other Principals may change substantially over the term of this
Agreement, and the Principals therefore agree to keep themselves fully informed as to the business activities and financial affairs of
each Principal and of the risks being engaged in, so that each is always aware of the risks of hazards in continuing to act as a Principal.
Each Principal expressly waives any requirement for notice from the Surety of any fact or information coming to the notice or
knowledge of the Surety affecting its rights or the rights or liabilities of the Principals. If any claim or demand is made by the Surety
against the Principals, or any one or more of them, by reason of the execution of a Bond, the Surety is expressly authorized to settle or
compromise with any one or more of the Principals individually, and without reference to the others, and such settlement or
coinposition shall not affect the liability of any of the others and each Principal expressly waives the right to be discharged by reason
of the release of one or more of the joint debtors, and hereby consents to any settlement or composition that may hereafter be made.
The liability of the Principals hereunder shall not be affected by the failure of the Principals, or any one or more of them, to sign any
Bond or this Agreement, nor by any claim that other indemnity or security was to have been obtained, nor by the release of any
indemnity, nor the return or exchange of any collateral that may have been obtained and if any party signing this Agreement is not
bound for any reason, this Agreement shall still be binding upon each and every other party.

21. Required Notices The Principals agree to notify the Surety (a) in the event of any change, alteration, restructuring,
cancellation, transfer (including, without limitation, the conveyance of a security interest), or other modification to (i) the working
interest ownership of the property for which a Bond is issued, or (ji) any lease for or relating to the property for which a Bond is
issued, or (b) upon becoming aware of any demand, notice, or proceeding preliminary to determining or fixing any liability, with
which the Surety may be subsequently charged under any Bond.

22, Manner of Notices All notices and other communications hereunder shall be in writing and shall be deemed to have
been duly given if delivered against receipt therefor or mailed by registered ar certified mail, return receipt requested, postage prepaid,
addressed (a) in the case of a Principal, to such Principal’s address set forth below and (b) in the case of the Surety, to (i) the Surety at
13403 Northwest Freeway, Houston, Texas 77040-6094, Attention: President, and (ji) IndemCo L.P. at 777 Post Oak Boulevard,
Houston, Texas 77056. Such names and addresses may be changed by: written notice given as provided in this Agreement. Actual
notice, however given, shall always be effective. .

23, Interest Any and all sums not paid when due shall bear interest at the lesser of (a) ten percent (10%) per annum, or (b)
the maximum non-usurious rate of interest allowed by applicable law.

24. Entire Agreement and Amendments This Agreement contains the entire understanding of the parties hereto with

respect to the subject matter contained herein and may be amended or terminated only by a document executed by all parties, or their

respective successors or assigns. There are no restrictions, promises, warranties, covenants, or undertakings other than those expressly
set forth hercin.

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(OL/31/13 - special) Fieldwood / PIA No, 10355
25, Headings The headings contained in this Agreement are for reference purposes only and shall not affect in any way the
meaning or interpretation of this Agreement.

26. Attorney’s Fees In the event any action is instituted to enforce any of the provisions of this Agreement or to recover
damages for the breach of any provision hereof, the prevailing party therein shall be entitled to recover any costs or expenses incurred,
including without limitation, costs of court and reasonable atlomeys’ fees.

27. Number and Gender Whenever required by the context, any reference herein to the singular shall include the plural,
any reference to the plural shall include the singular, and the gender of any pronoun shall mean and include the appropriate gender,
whether masculine, ferninine, or neuter.

28. Counterparts This Agreement may be executed in multiple counterparts, and by the Principals on separate
counterparts, each of which shall be deemed to be an original, but all of which together shall constitute one and the same instrument. -
Delivery by telecopy or email of a signed counterpart of this Agreement shall be effective as physical delivery.

29. Continuing Agreement Each Principal understands and agrees (a) this Agreement is a continuing agreement to
indemnify over an indefinite period; (b) Bonds may vary widely in amounts and nature, and (c) each Principal will be bound by all
Bonds, and any increases in the penal limits of all Bonds. Each Principal shall continue to remain bound under the terms of this
Agreement even though the Surety may have from time to time heretofore or hereafter, with or without notice to or knowledge of any
Principal, accepted or released other agreements of indemnity or collateral from some or all of the Principals or others in connection
with the procurement of Bonds, it being expressly understood and agreed by each Principal that any and all other rights which the
Surety may have or acquire against such Principal or others under any such other or additional agreements of indemnity or collateral
shall be in addition to, and not in lieu of, the rights afforded the Surety under this Agreement.

30. No Conflict Each Principal represents and warrants that neither this Agreement nor any condition relating to the
issuance of any Bond shall be a breach or default in any other obligation of such Principal, specifically including, without limitation,
any loan agreement.

31. ENTIRE AGREEMENT LACH PRINCIPAL REPRESENTS TO THE SURETY THAT SUCH PRINCIPAL
HAS CAREFULLY READ THIS ENTIRE AGREEMENT, AND THERE ARE NO OTHER AGREEMENTS OR
UNDERSTANDINGS WHICH IN ANY WAY LESSEN OR MODIFY THE OBLIGATIONS SET FORTH HEREIN. THE
EFFECTIVE DATE OF THIS AGREEMENT SHALL BE THE DATE SET FORTH BELOW, REGARDLESS OF THE
DATE OR DATES ON WHICH ANY PRINCIPAL MAY EXECUTE THIS AGREEMENT AND REGARDLISS OF
WHETHER BONDS WERE ISSUED BY THE SURETY BEFORE OR AFTER THE EXECUTION OR EFFECTIVE DATE
OF THIS AGREEMENT. THE SURETY’S ACCEPTANCE OF THIS AGREEMENT SHALL BE PRESUMED AND IS
DEEMED EFFECTIVE BY ITS RECEIPT OF THIS AGREEMENT, ITS RELIANCE HEREON, OR BY JTS EXECUTION
OF ANY BOND FOR THE PRINCIPALS OR ANY OF THEM, WITH OR WITHOUT THE SURETY’S SIGNATURE
BEING AFFIXED THERETO.

32. Individual Certification. Each individual signing below on behalf of any Principal certifies that (a) such individual! is
familiar with the organizational documents and other records of such Principal; (b) the name of such Principal as reflected below is its
correct name; (c) such Principal exists and is in good standing in the jurisdiction of its organization; (d) the execution, delivery and
performance of this Agreement by such Principal (1) are within its organizational pawer; (2) have been duly authorized by all
necessary actions, and (3) do not contravene its organizational documents or any agreement binding upon it or any of its property; (e)
the form of signature block for such Principal is an appropriate signature block for it; (f) such individua! holds the position reflected
below and is duly authorized to execute this Agreement on behalf of such Principal, and (g) this Agreement has becn duly executed
and delivered on behalf of such Principal.

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EXECUTION ON FOLLOWING PAGE(S)

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(01/31/13 - special)

For entity as Principal:

TYPE OF ENTITY; Limited Liability Company

Fieldwood / PIA No. 1055
For entity as Principal:

TYPE OF ENTITY: Limited Liability Company

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Fieldwood Energy LLC

Fieldwood SD Offshore LLC

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BY: Bu/l, Le SE

Signature)
Howard M. Tate

Oo (Name of Entity) |
py. whe AL Ay
“em (Signature)

PRINTED NAME: Senier Vic S PRINTED NAME: Howard M. Tate

TITLE:__ Chief Financial Officer TITLE:

_ South, Suite 1200

ADDRESS: 2000 W. Sam Houston Pk

Houston, Texas 77042

Vice President

ADDRESS: 2000 W. Sam Houston Pkwy. South, Suite 1200

Houston, Texas 77042

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(Name of officer) (Name of officer) (Title of officer)
of Fieldwood Energy LLC of Fieldwood SD Offshore LLC
(Name of Principal} (Name of Principal}
on behalf of such entity. on behalf of such entity.

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TYPE OF ENTITY: Limited Liability Company TYPE OF ENTITY: Limited Liability Company _

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For entity as Principal:

Fietdwood Onshore LLC Galveston Bay Pipeline LLC

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(Signature “ Signature

; ward M. Tate
PRINTED NAME; Howard M. Tate PRINTED NAME: to e- President
‘ Vice President

TITLE: TITLE:
ADDRESS: 2000 W. Sam Houston Pkwy. South, Suite 1200 ADDRESS: 2000 W. Sam Houston Pkwy. South, Suite 1200

Houston, Texas 77042 Houston, Texas 77042

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(Name of officer) : (Title of officer) (Name of officer) {Title of officer}
of Fieldwood Onshore LLC. : of Galyeston Bay Pipeline LLC
a (Name of Principal) os (Name of Principal)
on behalf of such entity. on behalf of such entity.

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Additional Sureties Suppiement

This Additional Sureties Supplernent shall'become and remain a part of that certain Payment and Indemnity
Agreement numbered PIA No. 1055 effective May 21, 2014. It is hereby understood arid agreed that paragraph
5 of PIA No. 1055 shall be deleted in its entirety and replaced by the following:

‘5. Additional Sureties If IndemCo L.P. or the Surety shall procure any other company or
companies, including but not limited to Armérican Contractors Indemnity Company, Ironshore
Indemnity Inc., Ironshore Specialty. Insurarice Company, Lexon Insurance Company, Bond
Safeguard Insurance Company, North American Specialty Insurance Company, Westport
Tnsurance Corporation, and/or Swiss Reinsurance America Cor; poration to execute or join with it
in executing or to rcinsure any Bond, this Agreement shall inure to the benefit of such other
company or companies, its or their successors and assigns, so.as to give it or them a direct right
of action against the Principals to enforce the provisions hereof. ,

All other terms and conditions shall remain wichanged. Each individual signing below on behalf of any
Principal certifies that (a) such individual is familiar with the organizational documents and other records of
such Principal; (b) the name of such Principal as reflected below is its correct name; (c) such Principal exists
and is in good standing in the jurisdiction of its organization; (d) the execution, delivery and performance of this
Agreement by stich Principal (1) are within its organizational power; (2) have been duly authorized by all
necessaty actions, and (3) do not contravene its ‘organizational documents.or any agreement binding upon it or
any of its property; (e) the form of signature block for such Principal is an appropriate signature block for it; (8)
such individual holds the position reflected below and is duly authorized to execute this Agreement on behalf of
such Principal, and (g) this Agreement has been duly executed and delivered on behalf of such Principal.

Agreed and executed this 30th day of April, 2015.

TAXPAYER IDENTIFICATION NO,: XX-XXXXXXX

ieldwood Enttgx LLC
wn Doe

(Signature)

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ADDRESS: 2000 W. Sam Houston Pkwy. South, Suite 1200

Houston, Texas 77042

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(Nance of officer} (Title of officer)

of Ficldsyood Eneray LLC

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on behalf of such entity,
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Fieldwood PIA No. 1055
Additional Named Principal Supplement

This Additional Named Principal Supplement (this “Supplement) shall be attached to and shall become a part of the Payment and
Indemnity Agreement No. 1055 (including all amendments, supplements and riders thereto, hereinafter the “Agreement”). All other’
terms and conditions of the Agreement shall remain unchanged and in full force and effect. Any term defined in the Agreement and
used in this Supplement shall have the meaning ascribed to it in the Agreement. .

The Agreement provides that the Principals thereunder include the signatories thereto and any and all affiliates thereof, specifically
including, without limitation, all wholly or partially owned subsidiaries, divisions or affiliates, and all partnerships, ventures or co-
ventures in which any of such signatories or any wholly or partially owned subsidiary, division or affiliate thereof has an interest or
participation, whether then existing or which may thereafter be created or acquired.

- Each of the undersigned (whether one or more, the “Additional Named Principals”) [a] represents that it is an affiliate (whether as -
subsidiary, division or other affiliate, or partnership, venture or co-venture in which any Principal or any wholly or partially owned
subsidiary, division or affiliate of a Principal has an interest or participation) of one or more of the Principals signatory to the
Agreement (including any signatory to any amendment, supplement or rider thereto); [b] agrees that it is a Principal under the
Agreement; [c] explicitly jois the Agreement as a party thereto and explicitly assumes all the obligations of a Principal thereunder; ,
[d] confirms that it is bound by the provisions of the Agreement as if it had been an original party thereto,.and [e] confirms the
representations and warranties set forth in the Agreement with respect to it as a Principal.

Each individual signing below on behalf of any Additional Named Principal certifies that [a] such individual has access to the
Agreement; [b] such individual is familiar with the organizational documents and other records of such Additional Named Principal;
[c] the name of such Additional Named Principal as reflected below is its correct name; [d] such Additional Named Principal exists
and is in good standing in the jurisdiction of its organization; [e] the execution, delivery and performance of this Supplement by such
.Additional Named Principal (1) are within its organizational power; (2) have been duly authorized by all necessary actions; and (3) do
not contravene its organizational documents or any agreement binding upon it or any of its property; [f] the form of signature block for
such Additional Named Principal is an appropriate signature block for it; [g] such individual holds the position reflected below and is
duly authorized to execute this Supplement on behalf of such Additional Named Principal, and [h] this Supplement has been duly
executed and delivered on behalf of such Additional Named Principal.

For entity as Additional Named Principal:
TYPE OF ENTITY: Limited Liability Company

TAXPAYER IDENTIFICATION NO.:_2-t2 ~~ 10 BUN,

Fieldwood Energy Offshore LLC
‘Name of Entity} .

{
By, DM LAO OLE
(Signature)
PRINTED NAMETMoumtan (WL Wwe
TITLE:

ADDRESS:_2000 W. Sam Houston Pkwy. South, Suite 1200

Houston, Texas 77042

This instrument was acknowledged before me on bat taf toh, 2014

by Plows is Ws Wwe YJ ee TA Si Oeer]
(Name of officer) (Title of officer)

of Fieldwood Energy Offshore LLC
(Name of Principal)

on behalf of such entity. -

NOTARIAL STAMP OR SEAL
Notary Signature.

Printed Name Mv i nay fA Ov
Notary in and for the State of l cXa s

en, MINDY A. GREGORY
sf At% Notary Public, State of Texas

My Commission Expires, 4 a

My commission expires 9 /1Y 2017 “Hiya September WAyRGtF

SCANT emo

